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                   Case 15-12912     Doc 113 Filed 03/06/17 Entered 03/06/17 10:24:04                               Desc         Page
                                 UNITED   STATES BANKRUPTCY
                                                          1 of 2       COURT
                                                        DISTRICT OF MASSACHUSETTS
                                                             BOSTON DIVISION

In re: MICHAEL J THIBODEAU                                                                              Case No.: 15-12912-JNF

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Carolyn A. Bankowski, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to
11 U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 07/22/2015.
2) The plan was confirmed on NA.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was dismissed on 09/19/2016.
6) Number of months from filing or conversion to last payment: 7.
7) Number of months case was pending: 19.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 837,567.30.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:            $55,092.00
        Less amount refunded to debtor:                      $52,340.86
 NET RECEIPTS:                                                                   $2,751.14

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                      $.00
        Court Costs:                                                                $.00
        Trustee Expenses and Compensation:                                     $2,751.14
        Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $2,751.14

 Attorney fees paid and disclosed by debtor:                 $4,500.00




 Scheduled Creditors:
Creditor                                                        Claim           Claim              Claim        Principal           Interest
Name                                         Class              Scheduled       Asserted           Allowed      Paid                Paid
COMM OF MASS, DOR                            Priority                     NA    11,609.97       11,609.97              .00                 .00
COMM OF MASS, DOR                            Unsecured                    NA   42,153.20       25,129.28               .00                 .00
DITECH BANKRUPTCY TRUSTEE                    Secured                      NA   46,686.64       46,686.64               .00                 .00
INTERNAL REVENUE SERVICE                     Priority                     NA     5,022.43              .00             .00                 .00
MASSACHUSETTS EDUCATIONAL FINANCING
                               Unsecured                                  NA   19,024.60       19,024.60               .00                 .00
NATIONSTAR MORTGAGE, LLC                     Secured                      NA   147,177.11     147,177.11               .00                 .00




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In re: MICHAEL J THIBODEAU                                                                              Case No.: 15-12912-JNF

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim              Claim           Claim          Principal           Interest
Name                                       Class              Scheduled          Asserted        Allowed        Paid                Paid
WELLS FARGO BANK NATIONAL ASSOCIATE
                                Unsecured                             NA               .00             .00             .00                 .00

 Summary of Disbursements to Creditors:                                                          Claim          Principal           Interest
                                                                                                 Allowed        Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                               .00               .00                 .00
     Mortgage Arrearage:                                                                      193,863.75               .00                 .00
     Debt Secured by Vehicle:                                                                        .00               .00                 .00
     All Other Secured:                                                                              .00               .00                 .00
 TOTAL SECURED:                                                                               193,863.75               .00                 .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                      .00              .00                 .00
     Domestic Support Ongoing:                                                                        .00              .00                 .00
     All Other Priority:                                                                        11,609.97              .00                 .00
 TOTAL PRIORITY:                                                                                11,609.97              .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                    44,153.88              .00                 .00

 Disbursements:
        Expenses of Administration:                                                             $2,751.14
        Disbursements to Creditors:                                                                  $.00
 TOTAL DISBURSEMENTS:                                                                                                             $2,751.14

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     02/28/2017                                    By:   /s/Carolyn A. Bankowski
                                                                                 Chapter 13 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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